This case involves the same issues that are involved in the case of Ex parte Mechanics Federal Savings and Loan Associationof Rock Hill, South Carolina (In re Simpson J.Zimmerman, as conservator of the Central Union Bank ofSouth Carolina v. Central Union Bank of South Carolinaet al), 18 S.E.2d 592, and was heard on appeal along with that case. Mr. Justice Baker has written an opinion in which he says: "The material facts affecting the claims of these appellants are the same as those involved in the case of Ex parte Mechanics Federal Savings and Loan Association(In re Zimmerman v. Central Union Bank),18 S.E.2d 592, decided this day, and the rulings made in that case are decisive of the issues in the present appeal."
For the reason assigned by me in my dissenting opinion in the case of Ex parte Mechanics Federal Savings andLoan Association (In re Zimmerman v. Central UnionBank), I must dissent from the opinion of Mr. Justice Baker in this case.
I think the decree of the Circuit Court in this case should be affirmed.